          Case 2:08-cr-00449-WBS Document 271 Filed 04/10/14 Page 1 of 3


 1   JAMES R. GREINER, ESQ.
 2   CALIFORNIA STATE BAR NUMBER 123357
     LAW OFFICES OF JAMES R. GREINER
 3
     1024 IRON POINT ROAD
 4   FOLSOM, CALIFORNIA 95630
     TELEPHONE: (916) 357-6701
 5
     FAX: (916) 920-7951
 6   E mail: jaygreiner@midtown.net
 7
     ATTORNEY FOR DEFENDANT
 8   TIEN THE LE
 9

10            IN THE UNITED STATES DISTRICT COURT FOR THE
11

12                     EASTERN DISTRICT OF CALIFORNIA
13

14
     UNITED STATES OF AMERICA, )            CR-S-08-449-03 WBS
15                             )
16
         PLAINTIFF,            )          STIPULATION AND AGREEMENT
                               )          OF THE PARTIES TO CONTINUE
17                v.           )          BOTH SENTENCING AND THE
18                             )          DEFENSE MOTIONS FOR A NEW
     TIEN THE LE,              )          TRIAL AND JUDGMENT OF
19
                               )          ACQUITAL TO MONDAY,
20                             )          JUNE 9, 2014 AND
                  DEFENDANT.   )          PROPOSED ORDER
21
     __________________________)
22

23

24
         The parties to this litigation, the United States
25
     of America, represented by Assistant United States
26
     Attorneys Jason Hitt and Jill Thomas, and the
27

28



                                  [Pleading Title] - 1
          Case 2:08-cr-00449-WBS Document 271 Filed 04/10/14 Page 2 of 3


 1
     defendant, Tien The Le, James R. Greiner, hereby agree
 2
     and stipulate to the following:
 3
                    1- By previous order, this matter was set
 4
     for motions hearing and sentencing on Monday, April 14,
 5
     2014 (See Docket Entry # 265);
 6
                    2. The defense has filed two post trial
 7
     motions, the first is a motion to vacate the jury
 8
     verdict and for a judgment of acquittal (See Docket
 9

10
     Entry # 215) and the second is a motion for a new trial

11
     (See Docket entry # 216). Both motions are critical and

12
     contain potentially complex issues which the parties

13   agree require the additional time for legal research
14   and briefing.
15                  3. By this Stipulation, the parties
16   collectively now move to continue the motion hearing
17   and sentencing until Monday, June 9, 2014 at 9:30 a.m.
18   The parties agree there is no legal need to exclude
19   time pursuant to the Speedy Trial Act.
20

21
         IT IS SO AGREED TO AND STIPULATED TO BY THE
22   PARTIES.
23
                    Each attorney has granted James R. Greiner
24

25   full authority to sign for each individual attorney.
26

27

28



                                  [Pleading Title] - 2
          Case 2:08-cr-00449-WBS Document 271 Filed 04/10/14 Page 3 of 3


 1       Respectfully submitted:
 2
                          BENJAMIN B. WAGNER
 3
                          UNITED STATES ATTORNEY
 4
     DATED: 4-9-14        /s/ JASON HITT
 5
                              JILL THOMAS
 6                        _____________________________________
 7
                          JASON HITT
                          JILL THOMAS
 8                        ASSISTANT UNITED STATES ATTORNEYS
 9                        ATTORNEYS FOR THE PLAINTIFF
10
     DATED: 4-9-14        /s/ James R. Greiner
11                        _______________________________
                          James R. Greiner
12
                          Attorney for Defendant
13                        TIEN THE LE
14

15
                                     ORDER
16

17

18                  IT IS SO FOUND AND ORDERED.
19
     Dated:   April 10, 2014
20

21

22

23

24

25

26

27

28



                                  [Pleading Title] - 3
